                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                         CRIMINAL DOCKET NO.: 14-86

VERSUS

FRED DOUGLAS BROOKS, III

                                  MOTION TO WITHDRAW

       Fred Douglas Brooks, III moves the Court to withdraw his Motion for Compassionate

Release, without prejudice to re-urge the motion at a later date.



                                                      Respectfully submitted,

                                                      /s/Sara A. Johnson
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                                 CERTIFICATE OF SERVICE

       This certifies that I electronically filed the foregoing pleading with the Clerk of Court by

using the CM/ECF system that will send a notice of electronic filing to all counsel of record.

       Dated: February 8, 2021.                       /s/Sara A. Johnson
                                                      Sara A. Johnson
